     Case 4:20-cv-03664-YGR Document 204-2 Filed 06/29/21 Page 1 of 2



      Mark C. Mao, CA Bar No. 236165               William Christopher Carmody
1
      Beko Reblitz-Richardson, CA Bar No. 238027   (admitted pro hac vice)
2     BOIES SCHILLER FLEXNER LLP                   Shawn J. Rabin (admitted pro hac vice)
      44 Montgomery St., 41st Floor                Steven M. Shepard (admitted pro hac vice)
3     San Francisco, CA 94104                      Alexander P. Frawley
      Tel.: (415) 293-6800                         (admitted pro hac vice)
4     mmao@bsfllp.com                              SUSMAN GODFREY L.L.P.
      brichardson@bsfllp.com                       1301 Avenue of the Americas,
5
                                                   32nd Floor
6     Amanda K. Bonn, CA Bar No. 270891            New York, NY 10019
      SUSMAN GODFREY L.L.P                         Tel.: (212) 336-8330
7     1900 Avenue of the Stars, Suite 1400         bcarmody@susmangodfrey.com
      Los Angeles, CA 90067                        srabin@susmangodfrey.com
8     Tel: (310) 789-3100                          sshepard@susmangodfrey.com
9     Fax: (310) 789-3150                          afrawley@susmangodfrey.com
      abonn@susmangodfrey.com
10                                                 John A. Yanchunis (admitted pro hac vice)
      Attorneys for Plaintiffs                     Ryan J. McGee (admitted pro hac vice)
11                                                 Michael F. Ram (admitted pro hac vice)
                                                   Ra O. Amen (admitted pro hac vice)
12                                                 MORGAN & MORGAN
13                                                 201 N. Franklin Street, 7th Floor
                                                   Tampa, FL 33602
14                                                 Tel.: (813) 223-5505
                                                   jyanchunis@forthepeople.com
15                                                 rmcgee@forthepeople.com
                                                   mram@forthepeople.com
16                                                 ramen@forthepeople.com
17
                                   UNITED STATES DISTRICT COURT
18                               NORTHERN DISTRICT OF CALIFORNIA

19    CHASOM BROWN, et al., on behalf of
      themselves and all others similarly situated, Case No. 5:20-cv-3664-LHK-SVK
20

21                   Plaintiffs,                   [PROPOSED] ORDER GRANTING
                                                   ADMINISTRATIVE MOTION TO SEAL
22           v.                                    PORTIONS OF JOINT SUBMISSION
                                                   RE: NOMINATIONS FOR A SPECIAL
23    GOOGLE LLC,                                  MASTER AND PROPOSED ORDERS
24
                     Defendant.                    Referral: Hon. Susan van Keulen, USMJ
25

26

27

28
                                                                    Case No. 5:20-cv-3664-LHK-SVK
                                                   [PROPOSED] ORDER RE: SEALING JOINT SUBMISSION
     Case 4:20-cv-03664-YGR Document 204-2 Filed 06/29/21 Page 2 of 2




1
                                            [PROPOSED] ORDER
2
             Before the Court is Plaintiffs’ Administrative Motion to Seal Portions of Joint Submission
3
      Re: Nominations for a Special Master and Proposed Orders. Having considered the Administrative
4
      Motion, supporting declaration, and other papers on file, and good cause having been shown, the
5
      Court ORDERS as follows:
6

7      Document Sought to      Party Claiming       Portions to be filed       Basis for Sealing
       be Sealed               Confidentiality      under seal                 Portion of Document
8      Joint Submission Re:    Plaintiffs           Entire Text
                                                                               Contains Material
       Nominations for a
9                                                                              Satisfying Rule 26(c)
       Special Master and
                                                                               Standard
10     Proposed Orders
       Exhibit A-1 to A-5      Plaintiffs           Entire Exhibits            Contains Material
11                                                                             Satisfying Rule 26(c)
                                                                               Standard
12

13
             IT IS SO ORDERED.
14

15
      DATED: ________________________            _____________________________________
16
                                                  Hon. Susan van Keulen, USMJ
17

18
19

20

21

22

23

24

25

26

27

28
                                                      1                    Case No. 5:20-cv-3664-LHK-SVK
                                                          [PROPOSED] ORDER RE: SEALING JOINT SUBMISSION
